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                               IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                           CASE NO.                           (CIVIL)



   DULCE ROJAS, individually and as
   natural guardian and parent of
  A.G.R., a nninor.

                  Plaintiff,

  vs.



  UNITED STATES OF AMERICA,

                  Defendant.
                                            /



                                   COMPLAINT FOR DAMAGES

          Plaintiff, DULCE ROJAS, individually and as natural guardian and parent of
  A.G.R., a minor, sues the Defendant, UNITED STATES OF AMERICA, and alleges:


                                   JURISDICTIONAL STATEMENT

          1.      This is a claim against the UNITED STATES OF AMERICA for money
  damages for injuries caused by the negligence or wrongful acts or omissions of

  employees, agents, and/or servants of JESSIE TRICE COMMUNITY HEALTH CENTER,

  INC. ("JTCHC"), including, but not limited to, ATA ATOGHO, M.D. ("ATOGHO"),
  GLADYS DUPUY, D.O. ("DUPUY"), and GLADYS DUPUY, P.A. ("DUPUY, P.A.")
  located in Miami-Dade County, Florida.


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